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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

TERRANCE D. DAVISON,

      Petitioner,

v.                                         CASE NO. 3:20cv5627-MCR/MAF

STATE OF FLORIDA,

      Respondent.
                                /

                                    ORDER

This matter is before the Court on the Report and Recommendation of the U.S.

Magistrate Judge. ECF No. 10. The parties have been furnished a copy of the

Report and Recommendation and have been afforded an opportunity to file

objections pursuant 28 U.S.C. § 636(b)(1). I have made a de novo determination of

all timely filed objections.

      Having considered the Report and Recommendation, and any timely filed

objections thereto, I have determined the Report and Recommendation should be

adopted.

      Accordingly, it is now ORDERED as follows:

      1. The Report and Recommendation, ECF No. 10, is adopted and

incorporated by reference in this Order.
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     2. The § 2254 petition for writ of habeas corpus, ECF No. 1, is

DISMISSED.

     3. A certificate of appealability is DENIED and leave to appeal in forma

pauperis is also DENIED.

     DONE AND ORDERED this 15th day of March 2021.




                                     s/   M. Casey Rodgers
                                    M. CASEY RODGERS
                                    UNITED STATES DISTRICT JUDGE
